50 F.3d 5
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David S. CARTWELL, Petitioner-Appellant,v.Sewall B. SMITH, Warden, Maryland State Penitentiary;Attorney General of the State of Maryland;  J.Joseph Curran, Jr., Respondents-Appellees.
    No. 94-7240.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 19, 1995Decided:  February 17, 1995
    
      David S. Cartwell, Appellant Pro Se.
      Ann Norman Bosse, Office of the Attorney General of Maryland, Baltimore, MD, for Appellees.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cartwell v. Smith, No. CA-94-2054 (D. Md. Oct. 13, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    